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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  RUDOLPH BETANCOURT,
      Plaintiff,
  vs.

  LOMAR HOLDINGS, LLC and NIDIA
  ROCIO HERNANDEZ,
      Defendants.


                                            COMPLAINT

         Plaintiff, RUDOLPH BETANCOURT (hereinafter “Plaintiff”), by his undersigned,

  hereby files this Complaint and sues Defendants, LOMAR HOLDINGS, LLC and NIDIA

  ROCIO HERNANDEZ (hereinafter “Defendants”), for injunctive relief pursuant to the

  Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the

  ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida

  Building Code.

                                    JURISDICTION & VENUE

         1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

  and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

  violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

         2.      The subject property is a auto shop located on or about 5720 Funston St

  Hollywood, Florida 33023 (hereinafter “Subject Premises”).

         3.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

  proper in this Court as the premises are located in the Southern District.

                                              PARTIES
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         4.      Plaintiff, RUDOLPH BETANCOURT, is currently a resident of Fenwick,

  Michigan in the County of Montcalm, is sui juris, and is a qualified individual under the ADA

  and the FACBC.

         5.      Plaintiff is a double leg amputee who uses prosthetic devices or a wheelchair to

  ambulate, a Marine Corps veteran with several friends, family, and colleagues in South Florida.

  Additionally, Plaintiff enjoys the Florida weather and the multiple sporting events, festivals, and

  events that occur throughout Florida.

         6.      Despite the physical limitations to which he is subjected as a result of his

  disability, Plaintiff continues to lead a full life, frequently travels, dines out, and is also an

  actively social and independent individual. Plaintiff’s recent visits to Florida include:

                   a.    Coral Springs, FL on or about March 26, 2021,
                   b.    Pompano Beach, FL on or about March 28, 2021,
                   c.    West Palm Beach, FL on or about June 30, 2021,
                   d.    Miami Beach, FL on or about July 15, 2021,
                   e.    Jacksonville, FL on or about September 14, 2021,
                   f.    Weston, FL on or about September 16, 2021,
                   g.    Deerfield Beach, FL on or about September 17, 2021,
                   h.    Weston, FL on or about October 10, 2021,
                   i.    Sunrise, FL on or about October 11, 2021,
                   j.    Orlando, FL on or about March 5, 2022,
                   k.    Titusville, FL on or about July 9, 2022,
                   l.    Orlando, FL on or about July 21, 2022,
                   m.    Pompano Beach, FL on or about July 22, 2022,
                   n.    Boca Raton, FL on or about July 23, 2022,
                   o.    Stuart, FL on or about July 25, 2022,
                   p.    Boca Raton, FL on or about September 1, 2022,
                   q.    Margate, FL on or about January 5, 2023
                   r.    Ft. Lauderdale, FL on or about January 6, 2023,
                   s.    Pembroke Pines, FL on or about January 6, 2023,
                   t.    Coral Springs, FL on or about January 7, 2023,
                   u.    Plantation, FL on or about January 7, 2023,
                   v.    Weston, FL on or about January 8, 2023,
                   w.    Melbourne, FL on or about June 12, 2023,
                   x.    Davenport, FL on or about June 13, 2023,
                   y.    Pompano Beach, FL on or about June 14, 2023,
                   z.    Melbourne, FL on or about July 10, 2023,
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                    aa.   Ft. Lauderdale, FL on or about July 11, 2023,
                    bb.   Davenport, FL on or about July 11, 2023,
                    cc.   Pompano Beach, FL on or about July 12, 2023,
                    dd.   Ft. Lauderdale, FL on or about September 12, 2023.
                    ee.   Broward County, Florida on or about October 20-23, 2023,
                    ff.   Miami Dade County, Florida on or about October 23-24, 2023.

          7.      Defendant, LOMAR HOLDINGS, LLC, is a LLC which is authorized to and does

  transact business in the State of Florida and within this judicial district.

          8.      Pursuant to the Broward Property Appraiser’s Office, Defendant, LOMAR

  HOLDINGS, LLC, is the owner and/or operator/manager of the real property located on or 5720

  Funston St Hollywood, Florida 33023 (hereinafter the “Subject Premises”). This is the building

  where the Subject Premises is located.

          9.      Defendant, NIDIA ROCIO HERNANDEZ, is an individual which is authorized to

  and does transact business in the State of Florida and within this judicial district.

          10.     According to the Broward Tax Collector’s Office, the Defendant, NIDIA ROCIO

  HERNANDEZ, was licensed on October 2, 2014 and occupies 5720 Funston St Hollywood,

  Florida 33023 as a auto shop known as “PREMIER AUTO”.

          11.     The Subject Premises is owned and/or operated by the Defendants and is a public

  accommodation required by law to comply with the ADA and ADAAG.

                             FACTUAL ALLEGATIONS AND CLAIM

          12.     Plaintiff most recently visited the Subject Premises on or about October 23, 2023

  to avail of their services and accessed to the extent possible, or attempted to access the Subject

  Premises and specific areas of the Subject Premises as described herein.

          13.     While visiting the Subject Premises, Plaintiff personally encountered or observed

  several barriers to access in violation of the ADA and ADAAG as detailed further herein at

  Paragraph 17. As a result, Plaintiff has been denied access to the Subject Premises and full and
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  equal enjoyment of the goods and services offered therein because of his disability and will

  continue to be denied such access as a result of those barriers.

           14.      Said barriers to access at the Subject Premises endanger the safety of Plaintiff and

  all other individuals with disabilities, deny Plaintiff and others with disabilities equal access to

  the Subject Premises as to that of able-bodied persons, and causes social embarrassment due to

  the difficulties encountering such barriers to access—a social embarrassment that would not

  occur if the Subject Premises was in compliance with the ADA and ADAAG.

           15.      In encountering the barriers to access at the Subject Premises, and suffering the

  resulting discrimination, endangerment, and embarrassment—the Plaintiff sustained a lawful

  injury-in-fact pursuant to the ADA.

           16.      Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General, published revised regulations for Title III

  of the Americans with Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA. Public accommodations were required to conform to these regulations

  on or before March 15, 2012.1

           17.      A specific, although not exclusive, list of unlawful physical barriers, dangerous

  conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because of his

  disability) to access the Facility and/or full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and/or accommodations of the Facility include:

                 Exterior
                    1. Failure to provide a compliant accessible parking space in violation of 2010
                       ADAAG §§502, 502.1, and 502.2.

  1
    “Safe Harbor. Elements that have not been altered in existing facilities on or after March 15, 2012, and that comply
  with the corresponding technical and scoping specification for those elements in the 1991 Standards are not required
  to be modified in order to comply with the requirements set forth in the 2010 Standards” 28 CFR §36.304(d)(2)(i),
  however, the violations described herein violate both the 1991 Standards as well as the 2010 Standards.
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                  2. Failure to provide the minimum number of accessible parking spaces required
                     in violation of 2010 ADAAG §§208 and 208.2.
                  3. Failure to provide a compliant access aisle adjacent to the accessible parking
                     space in violation of 2010 ADAAG §§502 and 502.3.
                  4. Failure to provide directional and informational signage to a compliant
                     accessible parking space in violation of 2010 ADAAG §§216.5, 502, and
                     502.6.
                  5. Failure to provide a compliant route to the main entrance from any site arrival
                     point in violation of 2010 ADAAG §§206.2, 208, and 401.1.
               Entrance
                  6. Failure to provide door hardware that is operable with one hand in violation of
                     2010 ADAAG §§205.1, 309.4 and 404.2.7.
                  7. Failure to provide compliant directional and informational signage to an
                     accessible route which would lead to an accessible entrance in violation of
                     2010 ADAAG §§206.4, 216.6, 404, 703.5, and 703.7.2.1.
                  8. Providing a door threshold that exceeds the maximum height requirement in
                     violation of 2010 ADAAG §§404, 404.2.5, and 404.3.3.

         18.      The above listing is not to be considered all-inclusive of the barriers, conditions or

  violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an

  inspection of the Facility in order to photograph, measure and determine all of the discriminatory

  acts violating the ADA.

         19.      The removal of the physical barriers, dangerous conditions and ADA violations

  set forth herein is readily achievable and can be accomplished and carried out without much

  difficulty or expense pursuant to 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); and 28

  C.F.R, § 36.304.

         20.      The ADA defines “readily achievable as “easily accomplishable and without

  without much difficult or expenses.”42 U.S.C. §12181(9) Congress included in the ADA factors

  to be considered in evaluating whether removal of a barrier is “readily achievable.” These factors

  are (1) nature and cost of the action; (2) overall financial resources of the facility or facilities

  involved; (3) number of persons employed at such facility; (4) effect on expenses and resources;

  (5) impact of such action upon the operation of the facility; (6) overall financial resources of the
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  covered entity; (7) overall size of the business of a covered entity; (8) the number, type, and

  location of its facilities; (9) type of operation or operations of the covered entity, including

  composition, structure, and functions of the workforce of such entity, and (10)geographic

  separateness, administrative or fiscal relationship of the facility or facilities in question to the

  covered entity. Garthright-Dietrich v. Atlanta Landmarks, Inc., 452 F. 3d 1269, 1272-73 (11th

  Cir. 2006).

          21.    The obligation to engage in readily achievable barrier removal is a continuing

  one. Over time, barrier removal that initially was not readily achievable may later be required

  because of changed circumstances. DOJ ADA Title III Technical Assistance Manual, Section III-

  4.4400 Continuing obligation.

          22.    Because, inter alia, this facility was designed, constructed, and received its

  Certificate of Occupancy on October 2, 2014, Plaintiff asserts that said ADA violations are

  intentional in nature and will not be corrected absent Court intervention, thus exacerbating the

  intentional legal harm and injury to which Plaintiff has been and will continue to be subjected in

  the future.

          23.    Plaintiff will undoubtedly return to the Subject Premises once the barriers to

  access have been remediated—not only to avail himself of the goods and services available at the

  Subject Premises, but to confirm and assure himself that the Subject Premises has been brought

  into compliance with the ADA and maintained in compliance with the ADA so that Plaintiff and

  other persons with disabilities will have equal access to the Subject Premises without fear of

  discrimination, endangerment of their safety, or social and public embarrassment.

          24.    Independent of his personal desire to access this place of public accommodation

  as required by law, Plaintiff is an advocate of the rights of similarly situated persons with
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  disabilities and an advocate for asserting his own civil rights. However, Plaintiff is deterred

  from returning to the Subject Premises as long as the Defendants continue to operate the Subject

  Premises in violation of the ADA and ADAAG.

            25.   Plaintiff has a realistic, credible, and continuing threat of discrimination by the

  Defendants as long as the Subject Premises remains in non-compliance with the ADA.

            26.   Defendants have discriminated against Plaintiff and others with disabilities by

  denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

  advantages and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

  and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv)

  and will continue to discriminate against Plaintiff and others with disabilities unless and until

  Defendants are compelled to remove all physical barriers that exist at the Facility, including

  those specifically set forth herein, and make the Facility accessible to and usable by persons with

  disabilities, including Plaintiff.

            27.   Plaintiff has suffered and continues to suffer direct and indirect injury as a result

  of the ADA violations that exist at the Subject Premises and the actions or inactions described

  herein.

            28.   Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

  reasonably anticipates that he will continue to suffer irreparable harm unless and until

  Defendants are required to remove the physical barriers, dangerous conditions and ADA

  violations that exist at the Facility, including those set forth herein.

            29.   Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

  and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.
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         30.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an order to alter the subject Facility to make it readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA, and

  closing the subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

  injunction enjoining Defendants from continuing is discriminatory practices, ordering

  Defendants to remove the physical barriers to access and alter the subject Facility to make it

  readily accessible to and useable by individuals with disabilities to the extent required by the

  ADA, closing the subject Facility until the barriers are removed and requisite alterations are

  completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

  expenses incurred in this action.

                                                    Respectfully submitted,

                                                    s/ Glenn R. Goldstein
                                                    Glenn R. Goldstein, Esq. (FBN: 55873)
                                                        Attorney for Plaintiff
                                                    Glenn R. Goldstein & Associates, PLLC
                                                    8101 Biscayne Blvd., Ste. 504
                                                    Miami, Florida 33138
                                                    (561) 573-2106
                                                    GGoldstein@G2Legal.net

                                                    s/ Lauren N. Wassenberg
                                                    Lauren N. Wassenberg, Esq. (FBN: 34083)
                                                        Attorney for Plaintiff
                                                    Lauren N. Wassenberg & Associates, P.A.
                                                    1825 NW Corporate Blvd., Ste. 110
                                                    Boca Raton, FL 33431
                                                    (561) 571-0646
                                                    WassenbergL@gmail.com
